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 9                                   UNITED STATES DISTRICT COURT
10                                             DISTRICT OF ARIZONA
11
     Charlene Olewin,                                          No. CV-20-1087-PHX-JJT
12
                                  Plaintiff,                   STIPULATION FOR DISMISSAL
13       v.                                                    WITH PREJUDICE
14   Premise Health Employer Solutions, LLC, a
15
     Delaware limited liability company,

16                                Defendant.

17
                     The parties have settled the above case. Accordingly, they hereby stipulate to the
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     dismissal, with prejudice, of all claims made by Plaintiff Charlene Olewin against
19
     Defendant Premise Health Employer Solutions, LLC, and to the termination of this action.
20
     The parties will bear their own attorneys’ fees and costs.
21

22
                     Respectfully submitted this 16th day of August, 2021.
23

24                                               CARDEN LIVESAY, LTD.
25                                               By: s/ Joshua W. Carden (with permission)
26                                                      Joshua W. Carden
                                                 Attorneys for Plaintiff
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                                      COPPERSMITH BROCKELMAN PLC
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 3                                    By: s/ Kent Brockelman
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